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                             EXHIBIT 22
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                    UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK
           IN RE: TERRORIST ATTACKS ON SEPTEMBER 11, 2001




                        03-MDL-1570 (GBD) (SN)




                   EXPERT REPORT OF JOHN BARRON
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Scope of Assignment

I have been asked by counsel for the Muslim World League, the International Islamic Relief
Organization (“IIRO”) and Drs. Naseef, Al-Obaid, Al-Turki and Basha to do the following:

1.      Evaluate the report issued by Ford Rhodes Sidat Hyder &Co. (“Sidat Hyder”), titled
        “Verification of Receipts and Payments for the Period 1 January 1996 to 22 February 2001”
        (Bates No. IIRO 26468-26490) regarding the Pakistan Branch of the IIRO (the “Sidat
        Hyder report”) and to offer my opinion on (i) whether the objectives and scope of work
        applied to the engagement and Sidat Hyder’s conformity to standards for professional
        accountants and uniform professional requirements would have allowed Sidat Hyder to
        adequately and reliably come to the conclusions offered in the Sidat Hyder report and (ii)
        whether the findings and conclusions offered in the Sidat Hyder report are fair and
        reasonable based on the scope of work, methodology and information referenced in the
        report;

2.      Review documents produced in the course of discovery as well as transcripts of deposition
        testimony concerning investigations into allegations of fraud and collusion by former
        employees of IIRO’s Pakistan office and to opine on the nature and extent of the response
        by IIRO’s senior management to those allegations; and

3.      Review certain opinions offered in the expert reports of Evan F. Kohlmann and Jonathan
        M. Winer concerning purported “irregularities,” “critical deficiencies” and “atypical
        accounting practices” and to offer my opinion concerning (i) the experts’ methodology and
        qualifications with respect to accounting related matters; and (ii) the extent to which the
        documents cited by Mr. Kohlmann and Mr. Winer, as well as the documents I reviewed as
        part of my affirmative report, support or undermine the opinions offered concerning
        accounting related matters.

Summary of Affirmative Opinions

4.      Sidat Hyder’s objectives included ascertaining weaknesses in IIRO’s internal controls and
        non-compliance with IIRO’s control-related policies and procedures. To reach fair,
        balanced, and reliable conclusions with respect to internal controls requires an
        understanding of all relevant controls. Sidat Hyder failed to do this and, as a result, its
        conclusions regarding IIRO’s internal controls were based on incomplete information and
        were potentially misleading thus limiting the usefulness of its conclusions.

5.      Sidat Hyder’s report addressed fraudulent activities in the Pakistan branch office but failed
        to acknowledge and communicate the limitations of internal controls, especially those
        associated with fraud. As a result, Sidat Hyder’s conclusions regarding internal control
        weaknesses did not present a fair and balanced view of IIRO’s internal controls, causing
        its conclusions to be misleading.
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6.      Given the nature of the fraud involving collusion, forgery, intentional destruction of
        documents, and coercion, it is unlikely that even well-designed internal controls would
        have prevented or detected the fraud in the Pakistan office.

7.      The lack of records in Pakistan resulting from their intentional destruction designed to
        conceal the fraud did not provide a basis for Sidat Hyder’s conclusion that proper records
        were not maintained prior to their destruction. In addition, there is nothing that Sidat Hyder
        references that would show that IIRO senior management was responsible for the absence
        of records in the Pakistan branch.

8.      Certain language used in its report suggests a lack of impartiality and fairness and potential
        bias on the part of Sidat Hyder, thus calling into question the fairness of Sidat Hyder’s
        conclusions regarding IIRO’s internal controls.

9.      Actions taken by IIRO senior management in response to suspected fraud in the Pakistan
        branch office show that IIRO took the matter seriously, in a manner that one would not
        expect if senior management knew about, was indifferent to or wished to cover up or
        prevent detection of the improper diversion of IIRO assets from the Pakistan branch office.
        I have seen nothing to show that IIRO senior management had knowledge of the fraud or
        internal control weaknesses in the Pakistan branch office prior to the time the fraud was
        discovered or that IIRO senior management planned for there to be internal control
        weaknesses at the Pakistan branch.

Summary of Rebuttal Opinions

10.     Mr. Kohlmann uses terminology in his report that is either not found in professional
        accounting standards or guidance or is inconsistent with such standards or guidance, which
        reflect his lack of knowledge and expertise in accounting and internal control-related
        matters.

11.     Ongoing activities and actions undertaken by IIRO senior management with respect to
        internal controls and other matters brought to light through inquiries and internal audits are
        inconsistent with Mr. Kohlmann’s opinion that IIRO used “financial irregularities” and
        “atypical accounting practices” as “features” of the organization for purposes of diverting
        funds to terrorist organizations as implied by Mr. Kohlmann.

12.     Mr. Kohlmann’s description and reference to the fraud at the IIRO Pakistan branch without
        mention of the inherent limitations on internal controls associated with such fraud further
        demonstrates Mr. Kohlmann’s lack of knowledge in this specialized area of accounting and
        internal controls.

13.     I have seen nothing in the materials cited by Mr. Kohlmann and Mr. Winer nor the other
        materials I reviewed in preparing this report showing that IIRO senior management
        intended for there to be internal control weaknesses designed to permit improper diversion
        of IIRO funds and indeed IIRO senior management took steps that reflected lack of such
        intent.



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Expert Qualifications

14.   I am a certified public accountant (“CPA”), licensed to practice continuously since
      November 1987 by the state of Georgia (1987-1998) and New York (1998 to present). I
      have been a CPA for 37 years. During that time, I have been directly involved in
      performing or overseeing more than 100 audit engagements of public and private entities.
      I was employed by Deloitte for a total of 21 years including twelve years as an audit partner.

15.   In my current role as Director of Quality Control of Frost, PLLC, I perform final pre-
      issuance reviews of all audit, review, and agreed-upon procedures engagements, conduct
      annual post-issuance quality control inspections, coordinate the Public Company
      Accounting Oversight Board (“PCAOB”) and American Institute of Certified Public
      Accountants’ (“AICPA”) Peer Review inspections, and consult internally on technical
      matters involving professional auditing and financial reporting standards and ethics. My
      responsibilities also include internal training in accounting and auditing related topics,
      ethics and independence.

16.   From 2003 through today, I have testified and been accepted as an expert in four
      administrative proceedings before the U.S. Securities and Exchange Commission (SEC”)
      or the PCAOB, and have been deposed as an expert witness three times in matters related
      to U.S. federal court proceedings, including one matter (American Realty Capital
      Properties, Inc. litigation, Civil Action No. 1:15-mc-00040-AKH, United States District
      Court, Southern District of New York) within the last four years.

17.   My qualifications are further documented in my curriculum vitae, which is attached to this
      report as Exhibit A. I am being compensated for my time on this matter at a rate of $500
      per work hour.

Methodology

18.   I have read thousands of pages of documents (or translations thereof) that were produced
      in the course of discovery in this matter as well as the transcripts of the depositions of
      certain fact witnesses. I evaluated the fairness of opinions offered and conclusions reached
      in the reports referenced herein based on the documents and testimony reviewed, applicable
      professional practice standards, and my professional knowledge, training, and experience
      in accounting and internal control-related matters. The documents and testimony I
      considered in forming my opinions are attached to this report as Exhibit B.

19.   I am performing this expert witness engagement in accordance with the AICPA’s
      Statement of Standards for Consulting Services, which require me to be impartial,
      intellectually honest, and free of conflicts of interest. Consistent with those requirements,
      my opinions, which are expressed throughout this Report, are my present opinions based
      on information I have considered to date. These opinions are based on my knowledge,
      training, and experience, as well as various sources of evidence cited throughout this report.




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Affirmative Opinions

20.    Sidat Hyder’s objectives included ascertaining weaknesses in IIRO’s internal controls
       and non-compliance with IIRO’s control-related policies and procedures. To reach
       fair, balanced, and reliable conclusions with respect to internal controls requires an
       understanding of all relevant controls. Sidat Hyder failed to do this and, as a result,
       its conclusions regarding IIRO’s internal controls were based on incomplete
       information, and were potentially misleading, thus limiting the usefulness of its
       conclusions.

       20.1.   Recognized standards define internal controls in terms of components or elements
               which work together in a system designed to achieve management’s objectives.

               20.1.1. The International Federation of Accountants (IFAC) sets forth standards for
                       professional accountants.1 Based on these standards, internal controls
                       consist of all policies and procedures adopted by management to assist in
                       meeting management’s objectives, including those related to safeguarding
                       assets and prevention or detection of fraud:

                              Internal control system—An internal control system consists of all
                              the policies and procedures (internal controls) adopted by the
                              management of an entity to assist in achieving management’s
                              objective of ensuring, as far as practicable, the orderly and efficient
                              conduct of its business, including adherence to management
                              policies, the safeguarding of assets, the prevention and detection of
                              fraud and error, the accuracy and completeness of the accounting
                              records, and the timely preparation of reliable financial information.
                              The internal control system extends beyond these matters which
                              relate directly to the functions of the accounting system.2

               20.1.2. In 1992, the Committee of Sponsoring Organizations of the Treadway
                       Commission (“COSO”) published Internal Control – Integrated
                       Framework (the “COSO Framework”). The objective was “to assist
                       managements in improving their entities’ internal control systems, and to
                       provide a common understanding of internal control among interested
                       parties.”3 The COSO Framework, recognized by IFAC, 4 is the only internal

1
  IFAC, founded in 1977, is a worldwide organization for the accountancy profession. Currently,
there are a total of 175 member organizations in 130 countries representing over 3 million
accounting professionals. IFAC website at https://www.ifac.org/who-we-are/our-purpose.
2
 International Standards on Quality Control, Auditing, Assurance, and Related Services, Glossary
of terms (December 2002).
3
 COSO Framework, Appendix B, Methodology. Committee of Sponsoring Organizations of the
Treadway Commission. Internal Control – Integrated Framework, September 1992.
4
 International Framework for Assurance Engagements, Handbook of International Auditing,
Assurance, and Ethics Pronouncements (2004).
                                                 4
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                        control framework that I have seen used in evaluating internal controls and,
                        just like the IFAC standards, defines internal controls in terms of elements
                        working together as part of an integrated system, including:5

                        •       Control Environment

                        •       Risk Assessment

                        •       Information and Communication

                        •       Control Activities

                        •       Monitoring of Controls

21.      Sidat Hyder’s scope of work and methodology were not designed to gain an understanding
         of IIRO’s internal controls, so the report could not have reached a fair, balanced, and
         reliable conclusion with respect to those internal controls.

         21.1.   The core objective of Sidat Hyder’s engagement was the determination of the loss
                 of funds due to misuse or embezzlement, not the entirely distinct function of
                 ascertaining weaknesses in IIRO’s internal controls and non-compliance with
                 internal control-related policies and accounting practices.

                        Engagement Objective

                        We were required to carry out the assignment, in accordance with the scope
                        of work defined below, for the purpose of determining maintenance of
                        proper books of account and financial records and ascertaining weaknesses
                        and non-compliance, if any, which may have resulted in financial
                        mismanagement and/or misappropriation of funds at the Pakistan Branch.
                        Thus, the core objective of this assignment was to determine the loss of
                        funds due to misuse or embezzlement, if any, and submit a report on our
                        findings.6 (Emphasis added.)

         21.2.   Following the Engagement Objective section of its report, Sidat Hyder specified
                 its scope of work and methodology which were comprised of examining, checking,
                 verifying, and tracing various documents, transactions, and records. Sidat Hyder’s
                 scope of work and methodology do not include procedures specifically designed to
                 ascertain internal control weaknesses, non-compliance with policies and
                 procedures, or gaining an understanding of all relevant controls.7 As a result, Sidat

5
 COSO Framework (1992), pages 12-14. Understanding the Entity and its Environment. And
Assessing the Risks of Material Misstatement, Internal Control, paragraph 43. International
Standard on Auditing (ISA) 315.
6
    IIRO 026471.
7
    IIRO 026472-026473.

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                  Hyder’s conclusions with respect to internal controls are based on incomplete
                  information, and are potentially misleading, thus limiting the usefulness of Sidat
                  Hyder’s conclusions with respect to IIRO’s internal controls.

22.       IIRO Head Office (“H.O.”) had monitoring controls.

          22.1.   It was Sidat Hyder’s finding that “… the internal controls relating to proper
                  monitoring of funding to Pakistan were not in place at H.O. …” noting the absence
                  of any “system or mechanism for financial discipline or required proper reporting
                  from Pakistan …” and “no internal or external audit was ever carried out for
                  Pakistan branch and H.O management never asked local management to provide
                  them [an] audit report on some fixed interval/periodic basis.” Sidat Hyder
                  concluded that “[t]hese control weaknesses on the part of H.O. management, in our
                  view, paved the way towards providing opportunities for financial mismanagement
                  and misappropriation of funds.”8 Sidat Hyder’s report does not provide a
                  description of the procedures it undertook to arrive at these findings including
                  determining what monitoring controls, if any, or other control activities were in
                  place.

          22.2.   Dr. Adnan Khalil Basha served as Secretary General of IIRO from 1997 through
                  2013.9 The Pakistan branch office was one of many external offices through which
                  IIRO carried out its relief outside the Kingdom of Saudi Arabia.10 In his testimony,
                  Dr. Basha provided examples of Head Office control-related policies and
                  procedures:11

                  •      Annual budgeting process.12

                  •      Hiring of external auditors for IIRO, which included samples of external
                         offices.13




8
    IIRO 0026475.
9
    Deposition of Adnan Basha (Feb. 20, 2019) (“Basha I”), 21:19-21:23.
10
     Basha I, 79:24-80:10.
11
     Dr. Basha was not asked to describe all relevant controls.
12
     Basha, 85:7-91:1; 125:23-126:9.
13
  External offices were not required to obtain external audits of their operations. External audits
were performed for the organization as a whole. The external auditors selected local offices and
external offices. Basha I, 91:2-92:7. Deposition of Adnan Basha (Feb. 21, 2019) (“Basha II”),
230:13-233:19.

                                                   6
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                  •      A committee, chaired by Dr. Basha, was responsible for the general
                         blueprint of policies and procedures in the local and external offices and
                         how to develop them.14

                  •      Establishment of committees to manage affairs of offices whenever the
                         position of office manager became vacant.15

                  •      Requiring joint involvement of a delegation from the General Secretariat
                         and local IIRO office to go into the field to oversee funding for disaster
                         relief to local governments “to prevent any misuse or suspicion or misuse
                         or resale.”16

                  •      Approval by the Urgent Relief Department of IIRO of distribution of gifts
                         from the Saudi government in coordination with the Saudi Embassy.17

                  Based on the nature and context of the questions asked of Dr. Basha, it is obvious
                  that the several examples that he provided of IIRO’s Head Office monitoring or
                  other control-related policies and procedures in place during the relevant time
                  period were not intended to be an exhaustive list of every policy or procedure that
                  was in place.

          22.3.   In addition, IIRO’s 1999/2000 Annual Report describes IIRO’s financial control
                  system including pre-expenditure and post-expenditure controls and the retention
                  of chartered auditors “assigned by the board of directors to control the financial
                  performance of the organization. …”18 In addition to internal audits, IIRO carried
                  out inspections related to orphanages.19

          22.4.   These examples of H.O. control policies and procedures shows that Sidat Hyder’s
                  conclusions concerning H.O. monitoring controls were not based on a
                  comprehensive evaluation of relevant controls. As discussed below, Sidat Hyder
                  also failed to take into consideration factors affecting the frequency and extent of
                  certain control procedures throughout the organization including the frequency of
                  internal audit and external audit visits to specific locations.

23.       Drawing conclusions based on individual internal controls ignores other internal control
          components or elements of the internal control system that may have resulted in different
          conclusions.


14
     Basha II, 156:2-158:19.
15
     Basha II, 176:3-180:13.
16
     Basha II, 188:12-190:5.
17
     Basha II, 207:2-210:7.
18
     IIRO 000212-000330.
19
     IIRO 111421-111431; 158082-158091; 49708; 287559-287585; 115300-115349.

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24.       The danger in reaching conclusions with respect to individual controls or control activities
          in isolation is the potential for overlooking other control elements or control activities that
          mitigate identified control weaknesses. As evidenced by the examples above, there were
          control activities at the Head Office that were not taken into consideration by Sidat Hyder.
          Also, management’s risk assessment process is a key element of internal controls affecting
          the extent and frequency of control activities.

          24.1.   An entity’s risk assessment process is one of five elements of the COSO
                  Framework. Due to normal cost constraints, internal control systems cannot be
                  expected to address every risk. Some risks are more significant than others.
                  Accordingly, in the accounting and financial reporting area, management assesses
                  the various risks, identifying the areas most susceptible to material error or fraud
                  and designing controls to address those risks. The types of controls selected may
                  vary. This explains why an entity would establish different control-related policies
                  and procedures for different locations based on relative assessed risk. For example,
                  risk assessment would explain the frequency of the performance of internal audits
                  at different locations. The same is true for external auditors who make the same
                  risk assessments in determining the frequency of visiting different office locations.

          24.2.   Based on management’s assessment of risk, it would not have been unreasonable
                  for IIRO to have concluded that an individual location such as the Pakistan branch
                  had sufficiently skilled and experienced personnel in key positions to provide
                  adequate segregation of duties,20 thus requiring less extensive oversight from Head
                  Office. Dr. Basha, Secretary General of IIRO, testified that Mr. Jasim, the
                  accountant in Pakistan, “was one of the most efficient accountants and one of the
                  oldest employees in the IIRO.” Dr. Basha testified that Mr. Butairi, the office
                  director, “was receiving the title of the ideal manager.”21 If, after the fact, using the
                  benefit of hindsight, it was determined that segregation of duties at the local level
                  had been circumvented though collusive fraud, this would not mean that the original
                  risk assessment and their decisions concerning control design had been
                  inappropriate.

          24.3.   Based on its reported scope of work and methodology, it is clear that Sidat Hyder
                  did not consider the various elements that made up IIRO’s overall system of internal
                  controls, including management’s risk assessment process, that would have
                  affected such things as the frequency of internal audit or external audit visits to
                  IIRO locations. As a result, Sidat Hyder’s conclusions regarding H.O. monitoring
                  controls is based on limited information and potentially misleading.



20
  The COSO Framework at page 47 defines segregation of duties as follows: “Duties are divided,
or segregated, among different people to reduce the risk of error or inappropriate actions. For
instance, responsibilities for authorizing transactions, recording them and handling the related
asset are divided ….”
21
     Basha II, 221:2-221:18.

                                                     8
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25.       Ascertaining non-compliance with IIRO’s internal control-related policies and procedures
          required an understanding of relevant control policies and procedures. Without first
          obtaining an understanding of policies and procedures it is not possible to ascertain non-
          compliance. There is nothing in the Sidat Hyder report to show that it undertook steps to
          do so.

          25.1.   In summary, Sidat Hyder’s scope of work and methodology did not include specific
                  procedures to identify control weaknesses or non-compliance with IIRO’s internal
                  control-related policies and procedures. Sidat Hyder failed to obtain an
                  understanding of all relevant controls and ignored a key element of internal control
                  systems that may have explained the rationale underlying the selection of different
                  types of controls for different locations, including the timing and frequency of
                  internal and external audits. Sidat Hyder’s failure to obtain an understanding of all
                  relevant controls caused its conclusions with respect to internal control weaknesses
                  to be incomplete, lacking in balance, potentially misleading, and therefore of
                  limited usefulness.

26.       Sidat Hyder’s report addressed fraudulent activities in the Pakistan branch office but
          failed to acknowledge and communicate the limitations of internal controls, especially
          those associated with fraud. As a result, Sidat Hyder’s conclusions regarding internal
          control weaknesses did not present a fair and balanced view of IIRO’s internal
          controls, causing its conclusions to be misleading.

          26.1.   Even in matters not involving fraud, internal controls frequently fail to prevent or
                  detect material errors and violations of rules and regulations even among the largest
                  and most heavily scrutinized entities in the world.22

          26.2.   IIRO learned of suspected fraud in the Pakistan office through a letter sent to Dr.
                  Basha by a former employee who had been dismissed by Mr. Butairi.23 Such “tips”
                  account for over 40% of the detection of occupational frauds, far more than by any
                  other single means of detection including internal audits, external audits, and
                  internal control activities, highlighting the limitations of internal controls when it
                  comes to fraud.24


22
  The U.S Securities and Exchange Commission (“SEC”) brought over 4,000 enforcement actions
over the five years period (2015-2019) against public companies for a variety of violations,
including issuance of materially misstated financial statements and fraud. SEC Fiscal Year 2019
Agency Financial Report. (https://www.sec.gov/files/sec-2019-agency-financial-report.pdf). It
should be noted that entities filing with the SEC typically have interdependent audit committees
and receive annual reports from independent auditors regarding the effectiveness of internal
controls.
23
     Deposition of Rahmatullah Nazir Khan Gari (July 31, 2019) (“Gari”), 56:10-58:13.
24
   Association of Certified Fraud Examiners, 2020 Report to the Nations 2020 Global Study on
Occupational Fraud and Abuse, 18 https://acfepublic.s3-us-west-2.amazonaws.com/2020-Report-
to-the-Nations.pdf.

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         26.3.   Due to inherent limitations, including those related to fraud, internal controls can
                 provide only reasonable assurance. For example, individuals acting in collusion
                 are in a position to falsify records such that the fraud cannot be detected by internal
                 controls and this is exactly what Messrs. Butairi and Jasim appeared to have done
                 in the case of IIRO’s Pakistan branch office.

         26.4.   As set forth in the COSO Framework, even well-designed internal controls can
                 provide only reasonable assurance. The limitations of internal controls associated
                 with fraud are particularly relevant to the events which led to IIRO’s investigation
                 of the Pakistan branch office.           Limitations on internal controls include
                 circumvention through collusion and the override of internal controls by
                 management. The following excerpt from the COSO Framework addressing
                 control limitations is nearly identical to provisions of International Standards cited
                 above:

                        Internal control, no matter how well designed and operated, can provide
                        only reasonable assurance to management and the board of directors
                        regarding achievement of an entity's objectives. The likelihood of
                        achievement is affected by limitations inherent in all internal control
                        systems. These include the realities that human judgment in decision-
                        making can be faulty, and that breakdowns can occur because of such
                        human failures as simple error or mistake. Additionally, controls can be
                        circumvented by the collusion of two or more people, and management has
                        the ability to override the internal control system ….25 (Emphasis added.)

         26.5.   The COSO Framework defines management override as overruling prescribed
                 policies or procedures, including for the purpose of personal gain. Override
                 practices include deliberate misrepresentations and falsification of documents.
                 Individuals acting collectively to perpetrate and conceal fraud together “often can
                 alter financial data or other management information in a manner that cannot be
                 identified by the control system:”

                        The term "management override" is used here to mean overruling
                        prescribed policies or procedures for illegitimate purposes with the intent of
                        personal gain or an enhanced presentation of an entity's financial condition
                        or compliance status. A manager of a division or unit, or a member of top
                        management, might override the control system for many reasons: to
                        increase reported revenue to cover an unanticipated decrease in market
                        share, to enhance reported earnings to meet unrealistic budgets, to boost the
                        market value of the entity prior to a public offering or sale, to meet sales
                        or earnings projections to bolster bonus pay-outs tied to performance, to
                        appear to cover violations of debt covenant agreements, or to hide lack of
                        compliance with legal requirements. Override practices include deliberate
                        misrepresentations to bankers, lawyers, accountants and vendors, and


25
     COSO Framework, Chapter 7, Limitations on Internal Control, page 75.

                                                   10
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                        intentionally issuing false documents such as purchase orders and sales
                        invoices.26 (Emphasis added.)

                                                ***

                        The collusive activities of two or more individuals can result in control
                        failures. Individuals acting collectively to perpetrate and conceal an action
                        from detection often can alter financial data or other management
                        information in a manner that cannot be identified by the control system. For
                        example, there may be collusion between an employee performing an
                        important control function and a customer, supplier or another employee.
                        On a different level, several layers of sales or divisional management might
                        collude in circumventing controls so that reported results meet budgets or
                        incentive targets.27 (Emphasis added.)

                                                ***

27.      The fraud in Pakistan was committed for personal gain by the director and the accountant
         of the Pakistan office.

         27.1.   It was found that “[t]he collected evidence indicated the existence of cheating,
                 forgery and misuse of IIRO’s funds which were disbursed on private projects.”28
                 Dr. Adnan Basha, the IIRO General Secretary, testified that it took some time to
                 obtain conclusive evidence of Mr. Butairi’s involvement and when Mr. Butairi
                 found that he had the chance of being arrested “he wrote a waiver or an assignment
                 of the three clinics he had [unclear words], which he operated from the embezzled
                 funds from the IIRO.”29
         27.2.   On January 21, 2004, Amir Jasim, the accountant of the Pakistan branch, signed an
                 admission of guilt for having manipulated payment reports, exchange rates, and
                 purchases for orphanages and hospitals for his personal benefit without knowledge
                 of the IIRO or its Secretariat General.30 According to Dr. Basha, Jasim confessed
                 that he owned the clinics with Butairi and petitioned for a settlement once he knew
                 that Mr. Butairi had given up the clinics.31
         27.3.   Sidat Hyder’s report identified the fact that Messrs. Butairi and Jasim had been
                 operating medical centers personally:

26
     COSO Framework, Chapter 7, page 76.
27
     COSO Framework, Chapter 7, page 77.
28
     IIRO 031022-031023; Basha II, 211:2-215:11.
29
     Basha II, 216:8-216:18. IIRO 031134; 031014.
30
     IIRO 031148.
31
     Basha II, 217:13-218:4247:19-248:15; IIRO 031125-031126.

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                        Apart from GMC we learned that the ex-DG was also running two other
                        medical centers, viz., VIP medical center in Islamabad and Al-Hijaz
                        medical center in Karachi. VIP center, we are informed, was personal
                        project of ex-DG handled by IIRO’s Director Finance and himself. VIP
                        medical center benefited from GMC operations as we noted that expenses
                        like staff salaries of VIP, GMACA contribution, VIP’s equipment
                        transportation cost, etc., were all paid through GMC.32

         27.4.   Based on the content of Sidat Hyder’s report and the documents examined, I found
                 nothing to show that the funds embezzled from IIRO’s Pakistan branch were used
                 for any purpose other than the personal gain of the perpetrators of the fraud.

28.      Characteristics of the fraud perpetrated by management of IIRO’s Pakistan branch office
         were consistent with recognized fraud-related factors limiting the effectiveness of internal
         controls.

         28.1.   The fraud carried out by Al-Butairi, the former director of the Pakistan branch
                 office, and Amir Jasim, the Pakistan branch accountant, was complex, involving
                 forgery, collusion, destruction of documents, and coercion of employees to conceal
                 the fraud from IIRO senior management.33

         28.2.   Mr. Butairi initially claimed that Jasim had acted alone. Later, IIRO received
                 evidence that Butairi was also involved.34 Dr. Basha testified that the embezzled
                 funds were stolen by Amir Jasim, with the knowledge of Mr. Butairi.35

         28.3.   In addition to collusion, the fraud involved forgery and preparation of false
                 documentation,36 further limiting the effectiveness of IIRO’s internal controls.

29.      Forgery limits the effectiveness of internal controls.

         29.1.   Individuals acting in collusion are in a position to alter financial data or other
                 information such that it cannot be identified by the control system.37

         29.2.   The detection of forgery, falsification or alteration of documents normally requires
                 specialized skills or a forensic examination. Documents can be prepared in such a
                 way that they appear to be legitimate to an individual lacking specialized training
                 and skills. Normal systems of internal controls are not designed to include forensic
                 examination of supporting documentation. Forensic examinations are normally

32
     IIRO 026488.
33
     IIRO 031033-031072; 031022-031023.
34
     Basha II 215:4-216:7.
35
     Basha II 237:16-237:22.
36
     IIRO 031033-031072; 031022-031023.
37
     COSO Framework, Chapter 7, page 77.

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                 conducted after fraud is suspected. I have not personally seen an internal control
                 specifically designed to detect forged or falsified documents. Even independent
                 auditors are not expected to have the skills necessary to detect forgery.

         29.3.   Given the nature of the fraud involving collusion, forgery, intentional destruction
                 of documents, and coercion, it is unlikely that even well-designed internal controls
                 would have prevented or detected the fraud in the Pakistan office. For example,
                 with respect to the documentation supporting the payment for goods for orphanages
                 submitted to Head Office, Sidat Hyder concluded that the acceptance of this
                 documentation by Head Office provided clear evidence “that no proper checking
                 was conducted and verification controls were observed which eventually resulted
                 into possible misappropriation/utilization of funds.”38 In this circumstance, I
                 believe it would have been unreasonable to expect Head Office personnel,
                 exercising reasonable care, to detect that the documentation was falsified. Even a
                 well-designed system of internal control cannot be expected to detect collusive
                 fraud involving forgery.

30.      Forgery and the falsification of documents by the Pakistan branch office employees in
         question was a major element of the fraud committed in the Pakistan office.

         30.1.   On April 19, 2001, an appellate judge in Islamabad ruled that Jasim had
                 manipulated financial data enabling him to embezzle large sums through
                 preparation of forged documents.39
         30.2.   Documents in this case referring to forgery or document alteration or falsification
                 included the following:
                 •     Forgery of receipts for construction of mosques40
                 •     Alteration of quantities on invoices41
                 •     Forgery of receipts for goods at orphanages42
                 •     Having a vendor sign a receipt for more than was received43
                 •     Forgery of payroll records44

         30.3.   Following his dismissal, the former Director of the al-Baraem Orphanage in
                 Mansehra, Abdel Razzak, sent letters of complaint to Dr. Basha and Engineer Abdel


38
     IIRO 026481.
39
     IIRO 031161-031162.
40
     IIRO 283118.
41
     IIRO 283152.
42
     IIRO 149495; 149501-149508.
43
     IIRO 149456.
44
     IIRO 149456.

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                 Aziz a-Peshawri concerning forgery, preparation of false documentation, and
                 coercion of employees:45

                        … In fact, I see him [Butairi] leaning more and more towards methods of
                        embezzlement, forgery, and fraud which he coordinated with the Financial
                        Director Amer Jassim. This includes forging currency exchange rates from
                        USD to rupees in the currency exchange reports sent to the Jeddah Office;
                        forging the signatures of many employees and other individuals or making
                        several employees sign payrolls without mentioning the amounts of money
                        on these payrolls; making fake invoices that have no market truth and
                        adding the names and prices of items on these fake forged invoices; and
                        other things similar to these. When I would confront him with this, he
                        would deny it or act like he had no idea about it as if he had never heard or
                        seen it before.46

         30.4.   The fraud also involved coercion of Pakistan branch office employees causing them
                 to become participants in the fraud, compounding the difficulty of detecting the
                 fraud.

31.      Coercion limits the effectiveness of internal controls.

         31.1.   Through pressure, intimidation, or threat, such as fear of loss of employment,
                 management can effectively enlist the aid of otherwise honest employees in the
                 concealment of fraud essentially expanding the scope of the collusion. Employees
                 might be coerced into “looking the other way” or be forced to provide false
                 evidence to conceal the fraud. In some cases, vendors may be asked to provide
                 false or incomplete documentation further enabling the fraud and preventing or
                 severely limiting its detection. The results of the coercion make the fraud even
                 more difficult to detect.
32.      Coercion was another key element in the fraud committed in the Pakistan office.

         32.1.   On April 19, 2001, in connection with Jasim’s request for bail, the court of appeals
                 found that Jasim had pressured his employees to alter financial data and submit
                 forged records:
                        “…Additionally, the petitioner has pressured his employees to alter
                        financial data and submit forged records instead of actual ones. The
                        complainant has provided the names of those employees as witnesses and
                        they are: Ghulam Habib – computer employee, Khaled Nasar – accountant
                        for Gulf Medical Center in Islamabad, and Mr. Shawkat Ali Ghory.”47


45
     IIRO 031046-031061.
46
     IIRO 031049.
47
     IIRO 282048.

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                                                 ***

                        “…The two aforementioned employees have confirmed that they were
                        forced to prepare forged records and the amounts shown in the documents
                        related to the mosques and clinics were prepared by the suspect and were
                        not paid to the competent authority.”48

         32.2.   During the investigation, Pakistan branch office employees informed IIRO they
                 were afraid to complain about the actions of Jasim for fear of termination of
                 employment. In at least one instance, an employee was terminated. Employees
                 were intimidated into signing blank documents and preparing false documents to
                 be sent to Jeddah.49

         32.3.   Pakistan orphanage directors and coordinators were not consulted by Jasim on
                 purchases and were forced to accept items that were not in line with their wishes.50
                 Orphanage directors were excluded from records of transfers sent from Jeddah.51
                 The social welfare coordinator linked to the orphanages was stripped of authority,
                 forcing the orphanages to “try to make ties with Abi Awwab [Jasim] to keep him
                 from bothering us and causing trouble for us.”52

         32.4.   The coercion of third parties in concealing the fraud is documented in the minutes
                 of a meeting of department directors and IIRO-Islamabad office employees held on
                 April 16, 2001, concluding that Jasim and Butairi paid one contractor, Talaat
                 Saadoon, less than the approved amount for digging a large number of wells with
                 Director [Butairi] requiring the contractor to put in writing that he had received the
                 approved amount.53

33.      Sidat Hyder’s report identified instances of fraud but did not communicate the associated
         internal control limitations.

         33.1.   Sidat Hyder’s report noted numerous instances of fraud including:
                 •      Purported purchases supported by quotes/bills from a supplier who did not
                        receive payment and did not provide the goods54




48
     IIRO 282049.
49
     IIRO 031033-031072; 031124.
50
     IIRO 031067.
51
     IIRO 031070.
52
     IIRO 031069.
53
     IIRO 149454.
54
     IIRO 026480.

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                 •      Purported purchases supported by an invoice of a company that did not
                        exist55

                 •      Forged acknowledgments from persons shown as having received
                        purchased goods and supplies when such goods were never received56

                 •      Forged invoices/supporting documents for construction projects for
                        companies that did not seem to exist57

         33.2.   In offering its conclusions with respect to internal controls, Sidat Hyder failed to
                 acknowledge and communicate the limitations of IIRO’s controls resulting from
                 the very activity identified in its report. As a result, Sidat Hyder’s conclusions with
                 respect to IIRO’s internal controls did not present a fair and balanced view to the
                 users of the report, causing the conclusions to be misleading.

34.      The lack of records in Pakistan resulting from their intentional destruction designed
         to conceal the fraud did not provide a basis for Sidat Hyder’s conclusion that proper
         records were not maintained prior to their destruction. In addition, there is nothing
         that Sidat Hyder references that would show that IIRO senior management was
         responsible for the absence of records in the Pakistan branch.

         34.1.   One of Sidat Hyder’s objectives was to determine the maintenance of proper books
                 of account and financial records:

                        We were required to carry out the assignment, in accordance with the scope
                        of work defined below, for the purpose of determining maintenance of
                        proper books of account and financial records and ascertaining weaknesses
                        and non-compliance, if any, which may have resulted in financial
                        mismanagement and/or misappropriation of funds at the Pakistan Branch.
                        Thus, the core objective of the assignment was to determine the loss of
                        funds due to misuse or embezzlement, if any, and submit a report on our
                        findings.58 (Emphasis added.)

                 34.1.1. Sidat Hyder’s “first task was to take inventory of the books of account and
                         underlying accounting record kept and maintained locally and to ascertain
                         its level of completeness and reasonableness.” The inventory included in
                         Sidat Hyder’s report lists various ledgers, journals, and “few duplicate
                         copies of payment, receipt and expense vouchers.”59


55
     IIRO 026480.
56
     IIRO 026481.
57
     IIRO 026482.
58
     IIRO 026471.
59
     IIRO 026474.

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         34.2.   Sidat Hyder’s conclusion that the accountant and staff in Pakistan failed to
                 discharge their responsibility to maintain proper books of account was reached
                 without determining whether the absence of documents was due to intentional
                 destruction for the purpose of concealing fraud. 60

                 34.2.1. Sidat Hyder found the records in Pakistan were inadequate, improper,
                         incomplete and inaccurate:

                                As is very evident the above-mentioned accounting record is not
                                only inadequate and improper it was found incomplete and
                                inaccurate. The management, we understand, had hired an
                                accountant who was responsible for doing all the finance related
                                work primarily ensuring the maintenance of all the required books
                                of account and related record, maintaining custody of cash in hand
                                and at bank and to work as a bridge between project coordinators
                                and higher management. We also found that project coordinators
                                also had not kept any record of the funds they received and expenses
                                made against those funds.61

                 34.2.2. With respect to the finding that project coordinators had not kept records of
                         funds received and expenses paid, it is highly questionable whether such
                         records would have provided information that would have detected the
                         fraud given the coercion that was applied to employees and the exclusion of
                         coordinators from records.

         34.3. Sidat Hyder concluded that the failure to maintain proper books of account created
               opportunities for misuse and misappropriation of funds and fraud:

                        The concerned accountant and any other staff responsible failed to
                        discharge the basic function of preparing and maintaining proper books of
                        account and underlying accounting record which is an essential element of
                        any organization. … This not only facilitated financial mismanagement it
                        created opportunities for misuse misappropriations of funds and fraud. …62

                 34.3.1. However, in presenting its findings and conclusions Sidat Hyder
                         acknowledged that it had not determined whether the non-maintenance of
                         the records in Pakistan was done deliberately or due to carelessness. This
                         acknowledgment limited the weight of its conclusion with respect to
                         preparation and maintenance of proper books of account:

                                … We are, however, unable to determine whether the non-
                                maintenance of books of account was done deliberately or was only

60
     IIRO 026474.
61
     IIRO 026474.
62
     IIRO 026474.

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                                due to inability or carelessness, for which the management is equally
                                responsible.63

         34.4.   The books and records of the Pakistan office were intentionally destroyed by the
                 perpetrators of the fraud.

                 34.4.1. In a letter from Dr. Basha to Dr. Al Din Bahgat , Dr. Basha described the
                         difficulties encountered in turning over records of the branch office in
                         connection with a change in directors, including “hiding the book system,”
                         coupled with cheating, forgery and misuse of IIRO’s funds:64

                                … It was found out that there was a manipulation that led to hiding
                                the book system. As a result, the delegation formed for this task had
                                to investigate the facts about the financial performance. The
                                collected evidence indicated the existence of cheating, forgery and
                                misuse of the IIRO's funds, which were used for the disbursement
                                of private projects. Accordingly, the foregoing represents violations
                                of the IIRO's financial and administrative regulations.

                                                 ***

                 34.4.2. A letter addressed to the Director General IIRO – Pakistan from the Inquiry
                         Officer in the State’s case against Amir Jasim brought to light Amir Jasim’s
                         burning of records maintained in Pakistan done at the direction of Al-
                         Butairi, another instance of collusion on the part of Jasim and Butairi:

                                Dear Sir,

                                We want to bring it your kind notice that some new events have
                                arised which were unknown before, and if they could have been
                                unveiled in time, Amir Jasim could not come out of jail. The new
                                fact found is that Amir Jasim burnt the record of IIRO on the orders
                                of Moayad Al Butairi the then Director General of the office.
                                Whereas the legal advisor has collected a lot of information in this
                                regard which makes it imperative that he stays here so that further
                                necessary action could be complete. His early departure from
                                Pakistan may result in changing of evidence by the witnesses.
                                (Emphasis added.)

                                For this reason you are informed that Mr. Salama Misulam Quraani,
                                the legal consultant should not leave Pakistan because his stay in
                                Pakistan will greatly support the inquiry which will have a very
                                good impact on the case.


63
     IIRO 026474.
64
     Basha, Dep. Ex. 149, IIRO 031022-031023.

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                                Thanks and best regards,

                                Yours sincerely,

                                Shoukat Hayat (Sub Inspector) Inquiry Officer65

                 34.4.3. When asked about the letter, the new Pakistan director Mr. Gari testified he
                         was told by the guards at the office in Pakistan that they had witnessed the
                         burning of the records.66

         34.5.   Although Sidat Hyder was unable to determine whether the absence of books was
                 done deliberately, it is evident from the documents and testimony that the “non-
                 maintenance” of records in Pakistan was due to their deliberate destruction by one
                 of the perpetrators of the fraud in Pakistan at the direction of the other perpetrator.
                 The fact that records were unavailable in Pakistan as a result of their intentional
                 destruction did not provide a basis for Sidat Hyder’s conclusion that such records
                 were not maintained prior to their destruction. Nor was it possible for Sidat Hyder
                 to determine the extent, nature, or condition of the records prior to their destruction.

         34.6.   I have seen nothing to support Sidat Hyder’s conclusion that IIRO senior
                 management was “equally responsible” for the absence of documents in the
                 Pakistan office. It is my opinion that this conclusion in the Sidat Hyder report is
                 unsubstantiated.

35.      By its own admission, Sidat Hyder acknowledged that they were unable to achieve all of
         its objectives.

         35.1.   Sidat Hyder was engaged to report on numerous matters related to the issues
                 identified in Pakistan. However, the absence of records limited Sidat Hyder’s
                 ability to reach conclusions in several areas of its report. These included both non-
                 maintenance of books of account and expenses not reported against funds received
                 from H.O.

                        … Thus they failed to perform their functions due to which it was not
                        possible to perform any conclusive verification and checking of receipts and
                        payments transactions. …67

                                                            ***

                        … However, in the absence of proper record at Pakistan office and
                        information requested from banks, we are not in a position to investigate



65
     Basha Dep. Ex. 151, IIRO 168291.
66
     Gari, 96:13-97:13; see also Basha Dep. Ex, 151; IIRO 168291-168292.
67
     IIRO 026474 “Non Maintenance of Proper Books of Account.”

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                         this matter, as per laid down methodology, further in order to conclude our
                         findings.68 …

                                                             ***

          35.2.   The above circumstances limited the overall usefulness of Sidat Hyder’s report.

36.       Certain language used in its report suggests a lack of impartiality and fairness and
          potential bias on the part of Sidat Hyder, thus calling into question the fairness of
          Sidat Hyder’s conclusions regarding IIRO’s internal controls.

          36.1.   The Code of Ethics for Professional Accountants requires integrity and objectivity.

                  36.1.1. The International Federation of Accountants (IFAC) provides a code of
                          ethics for all professional accountants (the “Code”). The Code is. intended
                          to serve as a model for national ethical guidance for IFAC members and
                          member bodies.69 The Code recognizes the responsibility of professional
                          accountants to the public, including clients, lenders, investors,
                          governments, employees, and others who rely on the objectively and
                          integrity of the accounting profession.

                  36.1.2. The underlying principles include integrity and objectivity. The principle
                          of integrity requires the professional accountant to be straightforward and
                          honest.70 Objectivity is defined as follows:

                                 •      A combination of impartiality, intellectual honesty and a
                                        freedom from conflicts of interest.71

                                 •      A professional accountant should be fair and should not
                                        allow prejudice or bias, conflict of interest or influence of
                                        others to override objectivity.72

          36.2.   With respect to expenses reported against funds received from H.O., Sidat Hyder
                  expressed its conclusion that there was a “complete mess” at the IIRO
                  organizational level:

                                 … We consider it appropriate to state that there is a complete mess
                                 at the organizational level as none of the persons either at H.O. or in


68
     IIRO 026478. “Expenses Not Reported Against Funds Received From Home Office.”
69
 IFAC Code of Ethics for Professional Accountants, as revised November 2001. The Institute of
Chartered Accountants of Pakistan (ICAP) is a member body of IFAC.
70
     Code of Ethics for Professional Accountants, Fundamental Principles.
71
     Code of Ethics for Professional Accountants, Definitions.
72
     Code of Ethics for Professional Accountants, Fundamental Principles.

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                                 Pakistan is aware about the outstanding expenses details due to lack
                                 of proper communication and absence of internal controls. …73
                                 (Emphasis added.)

          36.3.   The characterization as a “complete mess” goes well beyond the norms of language
                  used in professional accountant’s reports to clients and others. The description was
                  an embellishment beyond what was necessary. The characterization suggests a lack
                  of impartiality and fairness and potential bias and prejudice on the part of Sidat
                  Hyder. Controls over funds received in Pakistan from Head Office was a critical
                  objective of Sidat Hyder’s assignment. Their use of this language calls into
                  question the overall fairness of Sidat Hyder’s conclusions with respect to IIRO’s
                  internal controls.

37.       Actions taken by IIRO senior management in response to the suspected fraud in the
          Pakistan branch office show that IIRO took the matter seriously, in a manner that
          one would not expect if senior management knew about, was indifferent to or wished
          to cover up or prevent detection of the improper diversion of IIRO assets from the
          Pakistan branch office. I have seen nothing to show that IIRO senior management
          had knowledge of the fraud or internal control weaknesses in the Pakistan branch
          office prior to the time the fraud was discovered or that IIRO senior management
          planned for there to be internal control weaknesses at the Pakistan branch.

          37.1.   Upon receiving the letter from the former employee, Dr. Basha immediately sent
                  Mr. Bashawri and Mr. Mujahid from the Head Office to Pakistan to commence an
                  investigation.74 Mr. Gari testified that Dr. Basha took things very seriously and he
                  was told by Dr. Basha to take the first flight from Bangladesh and go to Pakistan to
                  meet Mujahid and Bashawri. Based on the allegations of embezzlement, Mr. Gari
                  testified that he was told that IIRO wished for him to take over the manager’s
                  position in Pakistan.75
          37.2.   Dr. Basha testified that the delegation sent to Pakistan “found evidence indicating
                  the existence of cheating, forgery, and the misuse of IIRO’s funds” and, as a result
                  of these discoveries, the financial officer of the Pakistan office, Amir Jasim, was
                  arrested based on a complaint from IIRO and was placed under investigation. Mr.
                  Butairi, a citizen of Saudi Arabia, was called back to Jeddah to answer to the legal
                  department.76 Faced with arrest in Saudi Arabia, Mr. Butairi assigned three clinics
                  to IIRO that he and Jasim had obtained from funds embezzled from IIRO. In
                  addition to sending the delegation to Pakistan, Dr. Basha was responsible for
                  appointing an external auditor, and forming the committee comprised of individuals

73
     IIRO 026478.
74
     Gari, 56:10-59:10.
75
     Gari, 46:1-47:2; 51:14-52:5; 52:20-52:24; 55:15-56:3;58:24-59:14.
76
     Basha II, 213:10-214:16; IIRO 031022-031023.

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                 from four departments to investigate the matter overseen by a senior official in the
                 IIRO. The committee was responsible for examining documents and obtaining the
                 results, including estimation and recovery of the losses incurred resulting from the
                 fraud.77
         37.3.   In summary, the actions taken by IIRO upon learning of the suspected fraud in the
                 Pakistan office included:
                        •       Dispatching a delegation from Head Office to commence an
                                investigation
                        •       Creating a committee to oversee the investigation
                        •       Relieving the parties believed to be responsible from their duties
                        •       Assigning a new Pakistan director
                        •       Retaining the firm of Sidat Hyder to investigate the matter and report
                                to IIRO
                        •       Recovering the estimated amount of embezzled funds

         37.4.   On January 21, 2004, Amir Jasim, the accountant of the Pakistan branch, signed an
                 admission that his actions were taken without knowledge of the IIRO or its
                 Secretariat General.78
         37.5.   The prompt actions taken by IIRO, including senior management’s efforts to
                 determine how the fraud had occurred and taking steps to keep it from recurring
                 clearly show how seriously they took this matter and are inconsistent with any prior
                 knowledge on the part of senior management. I have seen nothing to show that
                 senior IIRO management had knowledge of the fraud or weaknesses in internal
                 controls prior to the time the fraud was committed or that IIRO senior management
                 intended for there to be weaknesses in internal controls by design. Had this been
                 intended by IIRO senior management, one would have expected a much more
                 limited and non-substantive response, if any.
Rebuttal Opinions

38.      Mr. Kohlmann uses terminology in his report that is either not found in professional
         accounting standards or guidance or is inconsistent with such standards or guidance, which
         reflect his lack of knowledge and expertise in accounting and internal control-related
         matters.

         38.1.    According to his report, it is Mr. Kohlmann’s understanding that a number of
                 auditor reports conducted of IIRO branch offices identified “critical deficiencies
                 in accounting practices” and significant “financial irregularities.”79

77
     Basha II, 236:17-237:3; 218:16-220:11; 217:3-218:4.
78
     IIRO 031148.
79
     Kohlmann Expert Report, paragraphs 130, 142.

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                  38.1.1 Standards for professional accountants provide that accounting practices are
                         part of internal controls and systems of internal controls.80 In classifying or
                         characterizing weaknesses in internal control, international standards
                         provide for only two categories: (1) control weaknesses; and (2) material
                         weaknesses.81 U.S. standards provide for three categories: (1) deficiency;
                         (2) significant deficiency; and (3) material weakness.82 Neither set of
                         standards use the term “critical” in referring to weaknesses or deficiencies
                         in internal controls. Neither the Sidat Hyder report nor the internal audit
                         reports referred to in Mr. Kohlmann’s report use the term “critical” in
                         describing deficiencies in IIRO’s accounting practices or controls.

          38.2.   Mr. Kohlmann also uses the term “financial irregularities” in describing various
                  accounting practices at IIRO branch offices, including the Eastern Province,
                  Bosnia-Herzegovina, Philippines, and Indonesia.83

                  38.2.1. In accounting and financial reporting matters, the term irregularities is
                          understood to mean an intentional error or misstatement or
                          misappropriation of assets. In other words, fraud. This meaning can be
                          traced back to as early as 1912,84 and is consistent with the current U.S.
                          Securities and Exchange Commission definition. 85

                  38.2.2. In the documents I have reviewed, including the internal audit reports
                          referred to in Mr. Kohlmann’s report, I have not seen the word “irregularity”
                          used. Of the four offices described in Mr. Kohlmann’s report where Mr.
                          Kohlmann makes reference to an internal audit or visit to the office by a
                          supervisory body, potentially fraudulent acts (irregularities) were identified
                          only in the Tuzla, Bosnia Herzegovina office. These related to three




80
     See Paragraph 20.1, supra.
81
  International Standards on Quality Control, Auditing, Assurance and Related Services, Glossary
of Terms, December 2002.
82
     AICPA, AU-C 265.07.
83
     Kohlmann Expert Report, paragraph 130, 140, 142, 145,153.
84
  Auditing Theory and Practice, Second Edition. Robert H. Montgomery, C.P.A. pages 237, 247,
262, and 408. (Stationer’s Hall, London, 1912).
85
   Securities and Exchange Commission Release No. 38762, File No. 3-9337, June 24, 1997. “The
term irregularities refer to intentional misstatements or omissions of amounts or disclosures in
financial statements. Irregularities include fraudulent financial reporting undertaken to render
financial statements misleading, sometimes called management fraud, and misappropriation of
assets, sometimes called defalcations." (https://www.sec.gov/litigation/admin/3438762.txt).

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                         payments to orphans, among 833 payments examined, representing a trivial
                         exception rate of one-third of one percent.86

          38.3.   The expert report of Evan Francois Kohlmann contains his background describing
                  Mr. Kohlmann as a private International Terrorism Consultant with a degree in
                  International Politics and a Juris Doctor (law degree). In addition, Mr. Kohlmann
                  is a recipient of a certificate in Islamic studies and is the co-founder of a business
                  risk intelligence firm. Based on his own statement, however, Mr. Kohlmann lacks
                  any of the education, training, and experience necessary to independently evaluate
                  and conclude on accounting and internal control-related matters.

          38.4.   In summary, Mr. Kohlmann’s use of the terms “critical deficiencies” and “financial
                  irregularities” in describing IIRO’s accounting practices is consistent with Mr.
                  Kohlmann’s lack of knowledge and expertise in this area.

39.       According to his report, Mr. Kohlmann employed a methodology known as comparative
          analysis relying on sources weighted based on credibility (primary, secondary, and tertiary
          sources). It is unclear from the report how this methodology was applied in reaching
          conclusions regarding accounting practices and, specifically, that atypical accounting
          practices and irregularities were “not bugs, but rather features” of the organizations referred
          to in Mr. Kohlmann’s report, including IIRO.

40.       Mr. Kohlmann opines that irregularities and atypical accounting practices “are not bugs,
          but features:”

                  “Financial irregularities and atypical accounting practices used by these Saudi-
                  based dawah organizations are not bugs, but rather features of these groups—and
                  are consistent with typical terrorist financing modes and methodologies.”87

          40.1.   The terminology “not bugs, but rather features” used to describe accounting
                  practices in the reports of Messrs. Kohlmann and Winer is, according to Mr. Winer,
                  “a popular catchphrase used in the world of computer software design.” 88 I have
                  never seen this phrase used to describe accounting practices and find it odd that Mr.
                  Kohlmann and Mr. Winer would both choose the same catchphrase from the world
                  of computer software design in the wholly unrelated context of accounting or record
                  keeping matters.



86
   Kohlmann Expert Report, paragraph 153. The report of the Control Committee of Orphans
Sponsorship of the Tuzla office reviewed controls over payments to 833 children (80% of the
population), finding a total of three instances in which the guardian stated that the signature in a
register was not theirs, representing an exception rate of approximately 0.3%. IIRO115300-
115302.
87
     Kohlmann Expert Report, paragraph 17.
88
     Winer Expert Report, 9.6.1.

                                                    24
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         40.2.   Mr. Kohlmann’s opinion regarding “not bugs, but rather features … consistent with
                 typical terrorist financing modes and methodologies” implies that “financial
                 irregularities” and “atypical accounting practices” were intentional on the part of
                 senior IIRO management, designed for the purpose of diverting funds to terrorist
                 organizations. As discussed below, the activities and actions of IIRO senior
                 management show just the opposite—senior management sought to identify and
                 rectify identified deficiencies or weakness in IIRO accounting practices and
                 internal controls.

41.      Ongoing activities and actions undertaken by IIRO senior management with respect to
         internal controls and other matters brought to light through inquiries and internal audits are
         inconsistent with Mr. Kohlmann’s opinion that IIRO used “financial irregularities” (fraud)
         and “atypical accounting practices” as “features” of the organization for purposes of
         diverting funds to terrorist organizations.

         41.1.   If IIRO senior management had purposely designed or intended for there to be
                 financial irregularities, atypical accounting practices, or weaknesses in IIRO’s
                 internal controls they would not have monitored and reviewed such practices and
                 taken corrective actions when issues were discovered. The actions on the part of
                 IIRO senior management are inconsistent with Mr. Kohlmann’s opinion that
                 atypical accounting practices were deliberate “features.”

         41.2.   Mr. Kohlmann refers to the external investigation of fraud in the Pakistan office
                 and internal audits and other inquiries of the IIRO offices in the Eastern Province,
                 Indonesia, and Philippines, Jordan, and Vienna. These monitoring activities,
                 inquiries, and associated corrective actions undertaken by IIRO senior management
                 are inconsistent with Mr. Kohlmann’s conclusions with respect to accounting
                 practices being “features” of the organization. They are consistent with senior
                 management learning of the types of problems that affect organizations broadly and
                 taking measures to investigate such issues.

                 41.2.1. In connection with the fraud in Pakistan, IIRO senior management
                         appointed a commission and engaged Sidat Hyder, an independent
                         accounting firm, to conduct an investigation of the matter.

                 41.2.2. With respect to the implementation of IIRO projects in Jordan and Indonesia
                         by the Eastern Province office, an internal audit report recommended
                         promptly informing the General Secretariat of funds transferred from the
                         Eastern Province to the Indonesian office.89 With respect to projects
                         implemented by the Eastern Province in Jordan, the IIRO merged certain
                         activities and reporting of the Eastern Province office in Jordan with the
                         IIRO Jordan office.90 In addition, IIRO accepted the resignation of the


89
     Kohlmann Expert Report, paragraphs 142-144, 150; IIRO 34989-35007; IIRO 158091.
90
     IIRO 287559-287585.

                                                  25
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                          director of the Eastern Province office in connection with internal audit
                          findings, including payments without supporting invoices.91

                   41.2.3. Based on concerns about a lack of clarity in the Philippines office
                           concerning custodies balances, the office of the Secretary for Financial and
                           Administrative Affairs suggested the liquidation of the custodies “as soon
                           as possible so that the problem of the Pakistan office is not repeated.”92

                   41.2.4. As described in Mr. Kohlmann’s report, the IIRO Secretary General
                          undertook an investigation into funds transferred to the IIRO office in
                          Vienna that were unaccounted for. The Secretary General’s inquiries
                          continued over a three-year period indicating the diligence with which the
                          matter was pursued.

42.      Mr. Kohlmann’s description and reference to the fraud at the IIRO Pakistan branch without
         mention of the inherent limitations on internal controls associated with fraud further
         demonstrates Mr. Kohlmann’s lack of knowledge in this specialized area of accounting and
         internal controls.

43.      As evidence of “bad practices” by IIRO’s personnel “in handling and reporting their uses of
         funds” Mr. Winer describes the fraud in IIRO’s Pakistan office including “cheating, forgery,
         and misuse of IIRO’s funds,” incineration of “the financial documents needed to determine
         what had happened,”93 the providing of wrong accounts by the perpetrators of the fraud, and
         pressure applied to subordinates to change financial statements and forget accounts.94
         However, Mr. Winer does not address the inherent limitations on internal controls and that
         the actions taken by the perpetrators were of the type that can cause even a well-designed
         system of internal controls to fail to prevent or detect fraud.

44.      Mr. Winer also notes, without further background or explanation, that “[p]rior to 2003, the
         IIRO’s Pakistan branch had transferred funds to Afghanistan in cash.”95 Mr. Winer cites the
         testimony of Dr. Basha as support for this statement but fails to describe the business reasons
         for the cash transfers given in Dr. Basha’s testimony--there were no official banks in
         Afghanistan at the time.96

45.      As further evidence of bad practices on the part of IIRO personnel, Mr. Winer cites from a
         portion of the report of Sidat Hyder, including Sidat Hyder’s statement that it was “unable to
         determine whether the non-maintenance of books of account was done deliberately or was


  91
       Kohlmann Expert Report, paragraphs 140, 141; IIRO 49708-49710.
  92
       Kohlmann Expert Report, paragraph 149; IIRO 59754.
  93
       Winer Expert Report, 10.9.1.
  94
       Winer Expert Report, 10.9.2.2.
  95
       Winer Expert Report, 10.9.1.
  96
       Basha II, 249:3-250:8.

                                                    26
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         only due to inability or carelessness…”97 As Mr. Winer should know from the documents
         produced in discovery, the documents in the Pakistan branch were in fact intentionally
         destroyed by the perpetrators of the fraud and that such destruction undermines Sidat Hyder’s
         conclusion, repeated in Mr. Winer’s report, that IIRO staff failed to prepare and maintain
         proper books of account.

46.      Mr. Winer cites internal audits and an external investigation into suspected fraud and a
         complaint filed by IIRO against a perpetrator of fraud but fails to point out that such audits
         and investigation are evidence that senior IIRO management took issues of accounting
         practices seriously.

47.      I have seen nothing in the materials cited by Mr. Kohlmann and Mr. Winer nor the other
         materials I reviewed in preparing this report showing that IIRO senior management intended
         for there to be internal control weaknesses designed to permit improper diversion of IIRO
         funds and indeed IIRO senior management took steps that reflected lack of such intent.



   8/07/2020
  ________________________                                      __________________________
  Date                                                          John Barron




  97
       Winer Expert Report, 10.9.2; IIRO 026474.

                                                    27
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                             EXHIBIT A


                       CURRICULUM VITAE
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                                    CURRICULUM VITAE
                                    JOHN E. BARRON, CPA
Director of Quality Control, Frost, PLLC, Little Rock, AR, 2016 to present
Responsibilities as director of quality control include oversight of the firm’s assurance practice
with respect to compliance with AICPA and PCAOB quality control standards. Specific
responsibilities include development of quality control policies, oversight of periodic PCAOB
and AICPA Peer Review inspections, conducting annual internal inspections of selected
engagements for compliance with applicable standards, performing detailed second partner
reviews of a majority of the firm’s attest engagements, preparing formal reports on
recommended improvements to the methods and practices of the assurance group, and
monitoring other processes affecting quality including recruiting, assignments, training, and
independence.
Sole Practitioner, litigations services 2014 - 2016
Performed consulting services on behalf of the Enforcement Division of the Securities and
Exchange Commission on three matters related to the application of PCAOB standards and the
application of generally accepted accounting principles.

Marks Paneth LLP, CPAs, New York, Director, Litigation Services 2003 - 2014
Expert services on behalf of the SEC, PCAOB and private legal counsel in matters related to
financial reporting, application of generally accepted accounting principles, and PCAOB audit
standards. Industries included banking, real estate, financial services, manufacturing, and
technology. The two most significant cases involved a $12 billion restatement by Fannie Mae
involving its accounting for derivatives and litigation in Bermuda involving an audit of a Madoff
“feeder fund”.
Adjunct professor of accounting – Baruch College, New York, 2008 – 2012
Instructed undergraduate courses in financial accounting, auditing, and managerial accounting
Deloitte LLP, Atlanta, GA and New York, NY - Audit Partner (1990 – 2003); Audit Senior
Manager (1987 to 1990)
Began career at Haskins & Sells (Deloitte predecessor) from 1970 to 1976. Rejoined the firm in
1987 as a senior manager in the firm’s Atlanta office, admitted to the partnership in 1990 and
relocated to the firm’s New York office in 1998, specializing in real estate, mortgage
investments, construction, and private and public investment funds. Clients included MetLife,
Equitable Life, Fortress Investments, Kajima Construction, Morgan Stanley and Merrill Lynch
real estate investment funds, and four real estate investment trusts. Served as the firm’s national
director of REIT accounting and auditing services from approximately 1997 to 2001.
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Private real estate investment company - 1976 - 1987

Chief Financial Officer for privately owned real estate investment firm specializing in the
acquisition and sale of commercial properties subject to net leases, primarily single tenant post
office facilities and bank properties. The firm was also involved in commercial office
development. As Chief Financial Officer, responsibilities included property acquisitions and
financing.

Haskins & Sells, Atlanta, GA, 1970 - 1976

Began career on audit staff, promoted to audit manager in 1975. Clients industries included
broadcasting, construction, savings and loan associations, and a publicly traded real estate
investment trust.

Education
University of Florida - B.S. in Business Administration-Accounting, with Honors, June 1970
Testimony during the prior four years
American Realty Capital Properties, Inc. litigation, Civil Action No. 1:15-mc-00040-AKH,
United States District Court, Southern District of New York. Testified at deposition June 11 and
June 12, 2019.
Publications authored in previous ten years
“Owner-Manager Fraud,” White-Collar Crime Fighter, April 2012
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                             EXHIBIT B
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Hall, London, 1912)
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